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                           UNITED STATES DISTRICT COURT
                           WESTERN DISTRICT OF LOUISIANA
                              LAKE CHARLES DIVISION


BOBBY’S COUNTRY COOKIN’, LLC

      Plaintiff,

       v.                                               Case No.: _______________

WAITR HOLDINGS, INC.                                    CLASS ACTION


       Defendant.


                                CLASS ACTION COMPLAINT

       Plaintiff Bobby’s Country Cookin’, LLC, individually and on behalf of all persons or

entities nationwide who are similarly situated, upon personal knowledge as to facts pertaining to

it individually and upon information and belief as to all other matters, based on the investigation

of its counsel, against the Defendant Waitr Holdings, Inc., states as follows:

                               I.      NATURE OF THE CASE

       1.      Plaintiff brings this action to challenge Waitr’s breach of the form agreements it

enters with its restaurant customers (referred to by Waitr and sometimes herein as “restaurant

partners”) by charging more for its services than agreed. Waitr made a deal with Plaintiff and

thousands of other restaurants: it would include them in its online ordering platform in exchange

for a Service Transaction Fee of 10% of the order amounts placed on that platform. Waitr broke

that agreement by unilaterally, unlawfully imposing a Service Transaction Fee of 15% of the order

amounts.

       2.      Plaintiff Bobby’s Country Cookin’, LLC is a small business that owns and operates

a restaurant in Little Rock, Arkansas. Waitr is a large, publicly traded company which allows



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more than a million users to order food from thousands of restaurants across the United States in

exchange for a delivery fee and driver tip that it charges users on each order.

        3.     In order for restaurants to be part of the Waitr network, and appear on the Waitr

platform, Waitr requires them to enter into a form contract.       Notably, this agreement is a pre-

printed, contract of adhesion that is uniform among putative class members in all relevant aspects.

The term of this agreement is one year, and it auto-renews for consecutive one-year terms unless

either party provides written notice of cancellation at least 30 days before the end of the term. In

addition to an initial Network Fee, the form contract allows Waitr to charge restaurants a specified

percentage of each order placed on the Waitr platform, called a Service Transaction Fee. Under

the express contractual terms, the Service Transaction Fee is a non-variable 10%. Like thousands

of other small businesses across the country, Plaintiff entered into this standard, preprinted contract

with Waitr.

        4.     In 2018, Waitr unilaterally raised the Service Transaction Fee it charges customers,

including Plaintiff, to 15% of the order amounts. It did so intentionally; blatantly ignoring the

contractual mandate that no changes to the contract could be made except in writing with

signatures of all parties. That Waitr imposed this unlawful price increase after announcing its

acquisition by an investment fund, but shortly before its initial public offering, suggests an intent

to maximize potential revenue with disregard for its contractual obligations to its customers.

        5.     Waitr’s conduct is a breach of contract and a violation of the duty of good faith and

fair dealing that underpins those contracts under Louisiana law, which governs all claims in this

litigation.

        6.     Further, this case presents a prototypical situation for class treatment. Waitr’s

conduct is uniform among all customers. Plaintiff and all class members entered into the exact




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same form agreement with Waitr. The agreement with Plaintiff and all class members mandates

that uniform Louisiana law applies to all class members’ claims. The application of shared law to

a common course of conduct will determine liability for the class as a whole, ensuring that the

rights of thousands of small businesses are vindicated through the efficiency of a single trial.

                                 II. JURISDICTION AND VENUE

       7.      This Court has subject matter jurisdiction over this action pursuant to 28 U.S.C. §

1332 because the amount in controversy exceeds $5,000,000, the proposed classes consists of more

than 100 members, and minimal diversity exists.1

       8.      This Court has personal jurisdiction over Waitr because Waitr has its registered

corporate headquarters in Lake Charles, Louisiana, is authorized to do business and in fact does

business in this District, the specific conduct at issue in this case originated in and emanated from

this District, and Waitr could reasonably anticipate litigation in this district under traditional

notions of fair play and substantial justice. Further, the form, preprinted agreement between at

issue contemplates jurisdiction in this Court.

       9.      Venue is proper in this Court under 28 U.S.C. § 1391. A substantial portion of the

conduct giving rise to Plaintiff’s claims and to the claims of putative class members occurred in

this District. The form contract at issue provides for venue for all claims in this District.

                                         III.    PARTIES

       10.     Plaintiff Bobby’s Country Cookin’, LLC is an Arkansas corporation with its

principal place of business in Little Rock, Arkansas.

       11.     Plaintiff’s experience with Waitr is typical of the class in all relevant aspects.



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  Waitr has more than 8,000 “restaurant partners,” the majority of which entered into the standard
contract at issue, in over 20 states. Waitr, as a resident of Louisiana, is diverse from Plaintiff, a
resident of Arkansas, as well as from unnamed class members.

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Plaintiff entered into the form contract at issue with Waitr in July of 2017. Like all contracts at

issue in this case, Plaintiff’s Waitr contract provided that Waitr would include Plaintiff in its online

delivery platform in exchange for a fee and that Waitr would receive 10% of the order amounts

made through that platform in exchange for online ordering services. It contained a year long term

that would auto-renew for successive year long terms unless a party opted-out at least 30 days

before renewal. The contract also provided that it would be governed under the laws of Louisiana

and that it could not be altered in any way except through writing signed by both parties. In 2018,

just into the second year-long contractual term for Plaintiff, Waitr unilaterally imposed a price

increase on what it charged, raising the Service Transaction Fee from 10% to 15% of all order

amounts. It did so for thousands of similarly situated small businesses at the same time.

        12.     Defendant Waitr Holdings, Inc. is a Delaware entity with its principal place of

business in Lake Charles, Louisiana. It is the successor entity through merger to Waitr, Inc.,

operates the Waitr platform, and entered into the form contacts at issue.

                           IV.     CLASS ACTION ALLEGATIONS

        13.     Plaintiff brings this action pursuant to Rule 23(a) and (b)(3), and proposes the

following class:

                All persons or entities who reside in the United States who, at any time from

                May 1, 2009 through the date of class certification, entered into a written

                contract with Waitr Holdings, Inc. or Waitr, Inc, and whose Service

                Transaction Fee was increased.

        14.     Excluded from the proposed class are members of the judiciary, entities currently

in bankruptcy, entities whose obligations have been discharged in bankruptcy, and governmental

entities. Also excluded from the proposed class are Waitr’s employees, subsidiaries, and affiliates.

Further excluded from the class are restaurant customers whose Service Transaction Fee was


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increased via a writing signed by both of the parties.

       15.     Plaintiff maintains the right to create additional subclasses or classes, if necessary,

and to revise these definitions to maintain cohesive classes which do not require individual inquiry

to determine liability.

       A.      Existence And Predominance Of Common Questions Of Law And Fact.

       16.     Waitr engaged in a common course of conduct which gives rise to common

questions of law and fact which predominate in this litigation. This common course of conduct—

imposing unlawful rate increases not allowed by contract—effected class members in the exact

same manner. The amount of damages may differ among class members, but the fact and type of

damages is uniform among all class members and flows directly from Waitr’s common conduct.

A single, uniform, pre-printed contract will govern all class members’ claims. Louisiana law—

mandated by Waitr’s own contract—applies to every class member’s claims.

       17.     This shared nucleus of facts and law gives rise to numerous questions of law and

fact which overwhelm any individual issues which might exist. Such common questions include,

but are not limited to, the following:

         a.    Whether Waitr used standard form contracts with customers;

         b.    Whether Louisiana law governs the claims of the classes;

         c.    Whether Waitr increased its rates on putative class members who entered into the

               standard contract;

         d.    Whether Waitr implemented the rate increases through an automated customer

               relationship management system;

         e.    Whether the rate increases Waitr imposed were not authorized by its standard form

               contracts;




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         f.     Whether the rate increases Waitr were enacted not in good faith; and

         g.     Whether Waitr was unjustly enriched;

        B.      Numerosity.

        18.     The total number of members of the putative class is so numerous that individual

joinder is impracticable. Waitr has over 8,000 “restaurant partners” many of which were subjected

to the rate increases at issue in this case.

        C.      Typicality.

        19.     The claims of the named Plaintiff are typical of the claims of the classes. Plaintiff,

like other class members, entered into the form contract and was subject to rate increases that were

not legally justified. Plaintiff was subject to, and harmed by, the exact same common policies and

practices which effected all class members.

        D.      Adequacy.

        20.      Plaintiff will fairly and adequately protect the interests of the members of the class

and has no interest antagonistic to those of other class members. Plaintiff shares the same interests

and was harmed by the same conduct as each other class member. Resolution of this case will

inherently vindicate and redress the interests of Plaintiff equally with class members. Plaintiff has

retained class counsel competent and experienced in prosecuting class actions and such class

counsel is financially able to represent the classes.

        E.      Superiority and Manageability.

        21.     The class action is superior to other available methods for the fair and efficient

adjudication of this controversy. Individual joinder of all members of the class is impracticable.

While the total amount at issue in this litigation is sizeable, individual damages for a given plaintiff

are comparatively small and class members have little incentive to pursue individual claims. The




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interests of judicial economy favor adjudicating the claims for the Plaintiff class in a single forum

rather than on an individual basis, thus also ensuring consistent adjudications and a uniformity of

decision. The proposed class definition is objective and class membership is easily determined

using customer information and financial records maintained by Waitr in electronic form.

Calculation of damages can be accomplished using systematic means and objective criteria. The

class action mechanism is administratively feasible and provides the benefit of unitary

adjudication, economies of scale and comprehensive supervision by a single court.

                              V.      FACTUAL ALLEGATIONS

       22.     Waitr is a rapidly growing food delivery service with annual revenues over

$69,000,000. In 2018, Waitr began operating as Waitr Holdings, Inc. and began trading on the

NASDAQ stock market.

       23.     Plaintiff is a small business that owns and operates a restaurant in Little Rock,

Arkansas. Like thousands of other small businesses in the United States that Waitr marketed its

services to, Plaintiff agreed to be included in Waitr’s online ordering network. In exchange for

inclusion in this network, Plaintiff and class members agreed to pay Waitr a fee of 10% of each

order made through the platform (called a “Service Transaction Fee”) in addition to an initial set

up fee (called a “Network Fee”). The agreement that establishes this relationship is a form, written

contract of adhesion, which also provided that it is complete and final, and could not be modified

except by a subsequent written agreement signed by both parties.

       24.     After agreeing to inclusion on Waitr’s network and paying the initial costs, Waitr

unilaterally increased the Service Transaction Fee it charges Plaintiff and putative class members

with no contractual justification. Waitr did so through a uniform rate increase implemented

through a centralized system that was announced in an undated letter. Upon information and




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belief, unilateral increase this was intended to glean millions of unearned dollars from its

customers to falsely burnish its financials before a public offering. This conduct constitutes a

breach of contract, a violation of the duty of good faith and fair dealing, and has resulted in Waitr

being unjustly enriched.

        A.       The Terms Of The Uniform Contracts.

        25.      Waitr uses effectively identical, form agreements to contract with customers. Every

class member entered into an effectively identical contract. The form contract and its exhibits,

which are incorporated into the agreement, make up eight pages.           All relevant terms are pre-

printed by Waitr. The first and second pages of the form agreement contain blanks where the

restaurant customer name and contact information is entered. “Exhibit A” of the form contract,

the Services Order Form, contains a table where the amount of the initial Network Fee and the

Service Transaction Fee are specified. The Service Transaction Fee is generally, if not always,

10% of each order placed through the Waitr platform. The Network Fee is substantial, often $1,500

or more.

        26.      Aside from establishing the Service Transaction Fee, the form contract also

contains other relevant standard provisions which (a) mandate that Louisiana law apply to every

class member’s claim, (b) establish a year long, auto-renewing term, (c) prohibit the alteration of

the written contract, and (d) integrate the contract and limit its interpretation to the four corners of

the document itself.

              a. “GOVERNING LAW AND FORUM. This Agreement shall be governed by the
                 laws of the State of Louisiana (without regard to conflicts of law principles) for any
                 dispute between the parties or relating in any way to the subject matter of this
                 Agreement. The sole and exclusive venue, without regard to any statute or choice
                 of law considerations for any suit or legal proceeding arising out of this Agreement
                 shall be exclusively brought in the Federal or state courts for Calcasieu Parish,
                 Louisiana, and Waitr and Customer submit to personal jurisdiction of these courts
                 . . . . The prevailing party in any litigation is entitled to recover from the non-



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                  prevailing party all reasonable attorneys' fees and costs incurred as a result of such
                  litigation. ”

             b.    “Renewals: This order renews for additional 1 year periods, unless either party
                  provides the other with written (including email) notice of non-renewal at least 30
                  days prior to the renewal date.”

             c. “Entire Agreement & Changes. This Agreement and the Order or exhibits hereto
                constitute the entire Agreement between the parties, and supersedes any prior or
                contemporaneous negotiations or agreements, whether oral or written, related to
                this subject matter. Customer is not relying on any representation concerning this
                subject matter, oral or written, not included in this Agreement. No representation,
                promise or inducement not included in this Agreement is binding. No modification
                of this Agreement is effective unless in writing and signed by an authorized
                representative of each party, and no waiver is effective unless the party waiving the
                right signs a waiver in writing.”

             d. “Terms . . . . This order and the agreement are the entire agreement between the
                parties, and they supersede and replace all prior and contemporaneous negotiations,
                agreements, representations and discussions regarding this subject matter. Only a
                signed writing of the parties may amend this order.”

       27.        Notably, the form contract provides no basis by which Waitr can unilaterally

change any terms to the agreement or the exhibits incorporated therein. In fact, the contract affirms

that the only mechanism through which the agreement may be changed is through a written

agreement signed by authorized representatives of both parties.

       B.         Waitr’s Unlawful, Unilateral Price Increase.

       28.        Despite the express prohibition on unilaterally changing the terms of the form

contract, Waitr intentionally carried out a systematic and widespread rate increase without

contractual authorization or agreement signed by Plaintiff and class members.

       29.        Waitr induced Plaintiff and class members into entering into form contracts with

fixed rates. By their terms, the form contract cannot be changed except by agreement written and

signed by both parties. Subsequently, Waitr brazenly and openly violated the clear terms of these

agreements by unilaterally increasing the Service Transaction Fee to 15% in 2018. The price




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increase Waitr imposed was identical in timing, methodology, and intent (and similar if not

identical in percentage) across its base of customers.

       30.     Upon information and belief, this price increase was directed by Waitr’s corporate

officers as part of a broad strategy to increase revenue and profit prior to the sale and public

offering of the company. Waitr began business in 2013, and quickly saw significant growth. By

2018, it claimed to operate across the Southeast and Atlantic regions, with “partner restaurants” in

over 30 cities and be experiencing large gains in terms of revenue and customer base. At that time,

it began discussions to be bought by an investment group. In November, that group purchased

Waitr for $308 million and immediately listed it on the NASDAQ stock exchange. During the

negotiations for Waitr’s purchase, and before it went public, Waitr implemented the unilateral fee

increase at issue in this lawsuit. It then reported increased growth, year-over-year, for the quarter

proceeding the public offering and increased its revenue outlook. Since then, Waitr has reported

record growth and earnings and has a current valuation of over $750 million.

       31.     This unilateral rate increase imposed by Waitr was not allowable under the form

contracts that Plaintiff and each class member entered into. There is no legal justification for

Waitr’s for this increase. The form contracts, which Waitr drafted and presented as a contract of

adhesion, does not allow for them. Waitr did not follow the only contractually allowed method

for altering the agreement: writing signed by both parties. As a direct result of its contractual

breach, Waitr has wrongfully taken millions of dollars from its “restaurant partners.”

                                 VII.    CAUSES OF ACTION

                                          COUNT I
                                   BREACH OF CONTRACT
                                    (On Behalf of the Class)

       32.     All allegations and paragraphs in this complaint are incorporated by reference.




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         33.    Plaintiff and each member of the class entered into form, written agreements with

Waitr.

         34.    Plaintiff and each member of the class performed on their agreements.

         35.    As set out herein, through its practice of unilaterally increasing the Service

Transaction Fee, Waitr breached the agreements with Plaintiff and each class member.

         36.    Plaintiff and each member of the class have been directly and proximately harmed

by Waitr’s breach of contract in that each paid more for Waitr’s services than agreed upon.




                                  COUNT II
           VIOLATION OF THE DUTY OF GOOD FAITH AND FAIR DEALING
                       IN THE BREACH OF A CONTRACT
                             (On Behalf of the Class)

         37.    All allegations and paragraphs in this complaint are incorporated by reference.

         38.    To the extent necessary, this count is pled in the alternative.

         39.    Plaintiff and each member of the class entered into form, written agreement with

Waitr.

         40.    Plaintiff and each member of the class performed on their agreements.

         41.    As set out herein, through its practice of unilaterally increasing the Service

Transaction Fee not in accordance with any contractual provision, Waitr breached the agreements

with Plaintiff and each class member.

         42.    Waitr’s breach was not simply bad judgment, negligence, or an honest mistake as

to the rights and duties of the contract. By intentionally raising the rates unilaterally, in the face of

repeated and clear contractual language that it could not do so without a written and bilaterally

signed agreement, Waitr’s conduct evidences dishonesty, ill will, and an outright and transparent



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refusal to fulfill its contractual obligation.

        43.      Plaintiff and each member of the class have been directly and proximately harmed

by Waitr’s breach of the contract and intentional breach of the covenant of good faith and fair

dealing in that each paid an unlawfully and unilaterally increased rate, above what was agreed

upon.

                                            COUNT III
                                      UNJUST ENRICHMENT
                                       (On Behalf of the Class)

        44.      All allegations and paragraphs in this Complaint are incorporated by reference.

        45.      To the extent necessary, this count is pled in the alternative.

        46.      Waitr, by increasing the Service Transaction Fee, realized an enrichment. Plaintiff

and class members, by virtue of the increase of the Service Transaction Fee, suffered an

impoverishment.

        47.      Because this enrichment and impoverishment resulted from the same conduct, they

are connected.

        48.      There was no legally recognized justification or cause for this conduct and the

resulting enrichment and impoverishment.

        49.      There is no other remedy at law available to Plaintiff and the class members.

                                   VIII. PRAYER FOR RELIEF

        50.      Plaintiff, on behalf of itself and each member of the putative class, demands all

remedies and damages available to it, including the sum of all unlawful rate increases paid to

Waitr, injunctive relief, restitution, and interest. Plaintiff, on behalf of itself and each member of

the putative class, consistent with the form contract and applicable law, seeks the attorneys’ fees

and costs incurred in bringing this action.




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                         Plaintiff requests a trial by jury.




Dated: April 30, 2019                         Respectfully submitted,



                                              BY: s/ Adras Paul LaBorde, III

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